                                                                              United States District Court
                                                                                Southern District of Texas

                                                                                   ENTERED
                      UNITED STATES DISTRICT COURT                                March 19, 2021
                       SOUTHERN DISTRICT OF TEXAS                               Nathan Ochsner, Clerk
                           HOUSTON DIVISION


                        CIVIL ACTION NO. 4:21−cv−00879
                        Johnson v. Contract Freighters, Inc.

                       ORDER FOR CONFERENCE AND
                    DISCLOSURE OF INTERESTED PARTIES

1.   Counsel and all parties appearing pro se shall appear for an initial pretrial and
     scheduling conference before

                            JUDGE ALFRED H. BENNETT
                      on June 4, 2021 at 09:00 AM via Zoom.
                     Counsel will receive connection instructions
                             the day before the setting.

2.   Counsel shall file with the clerk within fifteen days from receipt of this order a
     certificate listing all persons, associations of persons, firms, partnerships,
     corporations, affiliates, parent corporations, or other entities that are financially
     interested in the outcome of this litigation. If a group can be specified by a
     general description, individual listing is not necessary. Underline the name of
     each corporation whose securities are publicly traded. If new parties are added or
     if additional persons or entities that are financially interested in the outcome of
     the litigation are identified at any time during the pendency of this litigation, then
     each counsel shall promptly file an amended certificate with the clerk.

3.   After the parties confer (in person or by telephone) as required by FED. R. CIV. P.
     26(f), counsel and all parties appearing pro se shall prepare and file not less than
     10 days before the conference a joint discovery/case management plan
     containing the information as required by FED. R. CIV. P. 26(f) using the form
     available at http://www.txs.uscourts.gov/sites/txs/files/ahb_jdcmp.pdf.

4.   Counsel will complete the attached proposed scheduling order and file it with the
     joint discovery/case management plan. The court will sign the agreed scheduling
     order and may rule on any pending motions at the conference.

5.   Counsel and all parties appearing pro se who file or remove an action must serve
     a copy of this order with the summons and complaint or with the notice of
     removal.

6.   Attendance by an attorney who has authority to bind each represented party is
     required at the conference.

7.   Counsel and all parties appearing pro se shall discuss whether alternative dispute
     resolution is appropriate and at the conference advise the court of the results of
     their discussions.
8.    Counsel and all parties appearing pro se will deliver to chambers copies of all
      instruments filed within 7 days of the conference and within 7 days of any future
      court hearing or conference. Unless this rule is complied with the court will not
      consider any instrument filed within 7 days of any court appearance.

9.    FED. R. CIV. P. 4(m) requires defendant(s) to be served within 90 days after the
      filing of the complaint. The failure of plaintiff(s) to file proof of service within
      90 days after the filing of the complaint may result in dismissal of this action by
      the court on its own initiative.

10.   Counsel will deliver to chambers copies of all instruments filed under seal
      regardless of their length.

11.   Failure to comply with this order may result in sanctions, including dismissal of
      the action and assessment of fees and costs.

                                                                 By Order of the Court



Court Procedures: Information on the court's practices and procedures and how to
reach court personnel may be obtained at the Clerk's website at www.txs.uscourts.gov
or from the intake desk of the Clerk's office.
                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

Jentel Johnson                              §
                                            §
versus                                      §          Civil Action 4:21−cv−00879
                                            §
Contract Freighters, Inc.                   §


                                     PROPOSED
                                 SCHEDULING ORDER


1. _________________________        AMENDMENTS TO PLEADINGS AND
                                    ADDITION OF NEW PARTIES
                                    Party requesting joinder will furnish a copy of this
                                    scheduling order to new parties.

                                    EXPERTS
2a. _________________________       Plaintiff, or party with the burden of proof, will
                                    designate expert witnesses in writing, listing the
                                    qualifications of each expert, the opinions the expert
                                    will present, and the bases for the opinions as required
                                    under Federal Rule of Civil Procedure 26(A)(2).

2b. _________________________       Defendant, or party without the burden of proof, will
                                    designate expert witnesses in writing, listing the
                                    qualifications of each expert, the opinions the expert
                                    will present, and the bases for the opinions as required
                                    under Federal Rule of Civil Procedure 26(A)(2).

3. _________________________        DISCOVERY
                                    Counsel may, by agreement continue discovery beyond
                                    the deadline. No continuance will be granted because of
                                    information acquired in post−deadline discovery.

4. _________________________        MOTIONS DEADLINE
                                    Including any motion challenging an expert witness
                                    (only motions in limine on issues other than experts
                                    may be filed after this date). The motion deadline may
                                    not be changed by agreement.
                                      JOINT PRETRIAL ORDER
5a. To be determined by the Court.    THE DEFENDANT shall supply the Plaintiff with a
                                      final version of its pretrial order by this date. (Where
                                      available, Defendant should supply Plaintiff with an
                                      electronic copy.)

5b. To be determined by the Court.    THE PLAINTIFF is responsible for filing the pretrial
                                      order on this date. All Motions in Limine must also be
                                      filed by this date.

6. To be determined by the Court.     DOCKET CALL is set at 1:30 p.m. in Courtroom 8C.

7. To be determined by the Court.     TRIAL is set at 9:00 a.m. in Courtroom 8C.
                                      Case is subject to being called to trial on short notice
                                      during the two week period beginning on this date.


   The Clerk shall enter this Order and provide a copy to all parties.


   SIGNED on ________________________, at Houston, Texas.



                                                    ________________________________
                                                    Alfred H. Bennett
                                                    United States District Judge
